EXHIBIT 4
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August 7, 2023

VIA ELECTRONIC AND FIRST-CLASS MAIL

Timothy W. Burns, Esq.
Burns Bair, LLP
10 East Doty Street, Suite 600
Madison, Wisconsin 53703

Re:    Diocese of Rochester Complaint against Continental Insurance Co. under
       N.Y. General Business Law Section 349

Dear Tim:

We have reviewed your letter dated July 26, 2023 with our client, the Diocese of
Rochester (the “Diocese”). At the outset, as I am sure you can understand, the Diocese
is focused on seeking confirmation of the amended joint plan to be filed in early
September by the Diocese and the Official Committee of Unsecured Creditors. We are
hoping for confirmation of the amended joint plan by the end of this year. Therefore, the
Diocese is hesitant to commence litigation which could divert attention from the plan
confirmation process. In addition, as we are approaching plan confirmation, the Diocese
believes that the cost of that litigation should be incurred by the settlement trust.

Please let me know if you have any questions. Thank you for your consideration.

Very truly yours,

BOND, SCHOENECK & KING, PLLC




Stephen A. Donato

SAD/ta
August 7, 2023
Page 2


cc:   Ilan D. Scharf, Esq. (via electronic mail)
      James R. Murray, Esq. (via electronic mail)
      James S. Carter, Esq. (via electronic mail)
      Charles J. Sullivan, Esq. (via electronic mail)
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